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UNITED STATES DISTRICT COURT § * 915
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WESTERN DISTRICT OF TENNESSEE

NO: 04-20400 - D
AD TETIFICANDU'M

TO: DAVID G. JOLLE`Y, UNITED STATES MARSHAL FOR THE WESTERN DISTRICT OF

TEN'NESSEE,

YOU ARE HEREBY COMMANDED to have the person of David Milken,
booking Number 04119183, RNI # 220546 presently confined at Shelby
County Jail, 201 Poplar by You restrained of his liberty, as it is said,
by whatsoever names detained, together with the day and cause of his
being taken and detained before the Honorable Judge Bernice B. Donald.,
District Judge of the United States District Court for the Western
District of Tennessee, in Courtroom 3 of said Court, in the City of
Memphis, Tennessee, at 9:00 a.m., on the 11th day of May, 2005, then and
there to do, submit to, and receive whatsoever the said Judge shall then
and there determine in that behalf; and have you then and there this

Writ.

WITNESS the Honorable Judge Bernice B. Donald
United States District Judge at Memphis, Tennessee
this 9th day of May, 2005.

ROBERT R. DI TROLIO
Clerk of Court

f .Depjty Clerk §

|'his uucument entered on the docket sheet |n Comp/ance ///
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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20400 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable Bernice Donald
US DISTRICT COURT

